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        NOW COM ES the United States ofAm erica, by and through the undersigned Assistant
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 United States Attorney, and respectfully requeststhat with the exception ofthose copiesto be                                                                                   (
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 providedtotheUnited StatesAttorney'sOfficeand any otherrelevant1aw enforcementagencyfor                                                                                        '2



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                                                   UN ITED STATES ATTORNEY                                                                                                  t
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                                                  RogerC
                                                  Assistant nited StatesAt-torney
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